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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

X
GOD, GOLD AND MOORE, LLC, d/b/a :
PSYCHO BUNNY, : Index No. 12-CV-8907 (PKC)
Plaintiff, ECF Case
- against -
NIKE, INC.
and JOHN DOES 1-25,
Defendants.
x

DECLARATION OF TAMAR Y. DUVDEVANI

TAMAR Y. DUVDEVANI declares and states:

1. I am Of Counsel with DLA Piper LLP, attorneys for defendant Nike, Inc.
(“Nike”). I submit this Declaration in support of Nike’s opposition to Plaintiff's Motion for a
Temporary Restraining Order, Preliminary Injunction and Expedited Discovery, and to place
before this Court documents referenced in Nike’s memorandum of law.

2. Attached as Exhibit A is the relevant portion of the registration history of
Plaintiffs PSYCHO BUNNY graphic mark from the United States Trademark Office
(“USPTO”).

3. Attached as Exhibit B are pages from the website www.psycho-bunny.com

displaying certain items from Plaintiff’s current collection and information about Plaintiff from
the “About” section of the website.
4, Attached as Exhibit C are results from a non-exhaustive search of USPTO

records for the stylized marks of rabbits and crossbones.
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5. Attached as Exhibit D is a print-out of an image search conducted on Google for
“rabbit crossbones” on December 16, 2012, which depicts the numerous uses of stylized rabbit
heads with crossbones existing in the marketplace on everything from t-shirts, stickers, jewelry,

pins and other novelty merchandise.

6. I declare under penalty of perjury that the foregoing is true and correct.
Executed on December 17, 2012. : 7?
LMI \—
TAMAR Y/DUVDEVANI
